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                                                                                    FILED
                        IN THE UNITED STATES DISTRICT COURT                        JUN      1    2 2014
                         FOR THE WESTERN DISTRICT OF TEXAS                      CLERK,   U.S.   D3STRtCT CLERK
                                   AUSTIN DIVISION

DDB TECHNOLOGIES, L.LC.,                         §
              PLAINTIFF,                         §
                                                 §
V.                                               §         CAUSE NO. A-i i-CV-929-LY
                                                 §
FOX SPORTS INTERACTIVE                           §
MEDIA, LLC,                                      §
                DEFENDANT.                       §



                                        VERDICT FORM

       In answering these questions, you are to follow all of the instructions I have given you in the

court's charge. As used in this Verdict Form, "DDB" means the PlaintiffDDB Technologies, L.L.C.

and "Fox Sports" means the Defendant Fox Sports Interactive Media, LLC.


INFRINGEMENT

QUESTION NO.!:

       Has DDB proved by a preponderance of the evidence that Fox Sports literally infringed any

of the asserted claims of the DDB Patents for the following accused products?


Check "Yes" or "No" in the space provided beside each particular claim.


                               Classic                Mobile        Website
                        '479
                       Patent GameTrax               GameTrax      Scoreboard
                                 for                    for            for
                       Claims
                               Football               Football      Baseball
                                 Yes    I
                                            No       Yes   I
                                                               No1 Yes   No /
                          1
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                                   Classic        Mobile   Website
                              GameTrax           GameTrax Scoreboard
                       Patent
                                 for                for       for
                       Claims
                               Football           Football Baseball
                                 Yes    No       Yes   No    Yes   No
                          1
                                                       v
                          2                                        1/"
                          4                            LV
                          5




                                   Classic        Mobile   Website
                         '862
                              GameTrax           GameTrax Scoreboard
                       Patent
                                 for               for        for
                       Claims
                               Football          Football  Baseball
                                  Yes   No       Yes   No    Yes   No   /
                          1                  /
                          2




                                  Classic          Mobile     Website
                        '587
                                 GameTrax        GameTrax    Scoreboard
                       Patent
                                    for             for          for
                       Claims
                                  Football        Football    Baseball
                                  Yes   No       Yes   No    Yes   No
                          5

                          8




Please proceed to the next question.
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QUESTION NO.2:

         Has DDB proved by a preponderance of the evidence that Fox Sports infringed one or more

claims of the DDB Patents for the following accused products under the doctrine of equivalents?


Check "Yes" or "No" in the space provided beside each particular claim.



               Classic             Mobile          Website           Mobile                                 Website
  '479                                              Website
             GameTrax GameTrax GameTrax GameTrax                                                           Scorestrip
 Patent                                           Scoreboard
                for      for      for      for                                                                for
 Claims                                           for Baseball
              Football Football Baseball Baseball                                                           Baseball
             Yes    I
                        No        Yes       No    'Yes   I   No     Yes   I
                                                                              No       Yes   I
                                                                                                 No        Yes   I
                                                                                                                     No
     1




           Classic Mobile   Website  Mobile   Website                                                      Website
         GameTrax GameTrax GameTrax GameTrax Scoreboard                                                   Scorestrip
  Patent
             for     for      for      for       for                                                         for
  Claims
          Football Football Baseball Baseball Baseball                                                     Baseball
             Yes        No / Yes        I   No ,/ Yes        No     Yes       No       Yes       No   I   Yes    T   No
     1

     2                  1   '   I ____ ____ ____                    ____      V                  V1-      ____I
     4                                      V/               V                V
     5                                      V                                                    V               [V
               Classic             Mobile           Website
                                              Website                Mobile                                Website
    '862
         GameTrax GameTrax GameTrax GameTrax Scoreboard                                                   Scorestrip
  Patent
            for      for      for      for       for                                                         for
  Claims
          Football Football Baseball Baseball Baseball                                                     Baseball
              Yes       No        Yes       No,, Yes         No, Yes          No,, Yes           No,      Yes        No1
     1                                      V.'              1/,'                  /             V/                  V.'
     2                  V                   V                                 VI                 V
     4                                                       (-"                                 V
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               Classic Mobile   Website  Mobile               Website             Website
    '587
             GameTrax GameTrax GameTrax GameTrax             Scoreboard          Scorestrip
  Patent
                 for     for      for      for                      for             for
  Claims
              Football Football Baseball Baseball             Baseball           Baseball
             Yes    No, Yes       No   Yes   No   Yes   No   'Yes         No /   Yes      No
     5              //            V/                    V.                             2/,
     8              fr"           V          V




Please proceed to the next question.
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WILLFULNESS

       Answer Question No.     3   if you answered "Yes" for any of the claims listed in Question No.

I or Question No. 2. Otherwise, do not answer Question No. 3 and please proceed to Question No.

4.


QUESTION NO.3:

       If you have found that Fox Sports infringed one or more of the asserted claims of DDB's

Patents, do you find that DDB has proved by clear and convincing evidence that Fox Sports'

infringment was willful?


Check "Yes" or "No" in the space provided beside each particular patent.



                                                          Yes        No
                        '479 Patent
                           '347 Patent
                        '862 Patent
                        '587 Patent




Please proceed to the next question.



                                                   5
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VALIDITY

OUESTION NO.4:

       Has Fox Sports proved by clear and convincing evidence that any of the claims of the DDB

Patents are invalid for obviousness?


Check "Yes" or "No" in the space provided beside each particular claim.

                     '479 Patent Claims


                               1




                     '347 Patent Claims


                               1


                              2

                              4
                               5


                     '862 Patent Claims
                                                Yes1 No
                               1


                               2                V
                     '587 Patent Claims
                                                Yes     No
                               5

                               8                 V
Please proceed to next question.
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QUESTION NO.5:

       Has Fox Sports proved by clear and convincing evidence that any of the claims of the DDB

Patents are invalid as anticipated?

Check "Yes" or "No" in the space provided beside each particular claim.


   '479 Patent
                       Claim    1
     Claims
                     Yes       No




   '347 Patent
                      Claim     1      Claim 2         Claim 4      Claim 5
     Claims
                     Yes   I
                               No     Yes   No        Yes    No    Yes    No




   '587 Patent        Claim 5          Claim 8
     Claims
                    Yes        No     Yes   No




   '862 Patent
                      Claim     1      Claim 2         Claim 4
     Claims
                     Yes       No     Yes    No       Yes   / No




Please proceed to next question.


                                                  7
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QUESTION NO.6:

       Has Fox Sports proved by clear and convincing evidence that any of the DDB Patents are

unenforceable due to inequitable conduct?


Check "Yes" or "No" in the space provided beside each particular patent.




                               '479 Patent
                               '347 Patent    /'Y
                               '862 Patent    v"
                               '587 Patent




Please proceed to the next question.




                                             8
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OUESTION NO.7:

          Has Fox Sports proved by a preponderance of the evidence that DDB's delay in filing suit

against Fox Sports was unreasonably long and unjustifiable causing material prejudice to Fox

Sports?


Check "Yes" or "No" in the appropriate blank.
                                                                /
                 Yes                                 Not/




Please proceed to the next question.
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DAMAGES


         Answer Question No. 8 if you have answered "Yes" for any claims listed in Question No.

1   or Question No. 2. Otherwise, do not answer Question No. 8.


QUESTION NO.8:


         What sum of money, if paid now, do you find by a preponderance of the evidence would

fairly and reasonably compensate DDB for Fox Sports' infringment?


Answer in dollars and cents.


                $




Please proceed to the next page, and your Presiding Juror will sign the Verdict Form.


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       We, the jury, unanimously answered the preceding questions by a preponderance of the

evidence cr by clear and convincing evidence as instruced for each question.


       Submitted the                       day of June, 2014 at           o'e1ock,4)m.
                                                             O(IGI1AL SIGNATURE
                                                          tEDACTED PURSUANT TO
                                                                         OF 2002




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